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       EXHIBIT A
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2010 Volkswagen Maintenance Schedule For USA                                               Carefree
                                                                                         Maintenance
                                                                                      Program USA Only
All Models except Routan
                                                                              Miles 10K       20K    30K    40K    50K    60K    70K    80K    90K    100K 110K 120K


AdBlue®. Fluid: Check fluid level and add if necessary (3.0L TDI only)                X, *    X, *   X, *    X      X      X      X      X      X      X      X      X
Airbag system: Perform visual inspection (Every 1 year regardless of mileage)          1, *   1, *   1, *   1, *   1, *   1, *   1, *   1, *   1, *   1, *   1, *   1, *
Air filter element and snow filter: Replace and clean housing
                                                                                                                          9, *                                      9, *
(if applicable) (Every 6 years regardless of mileage)
Battery: Check (and second battery if applicable)                                              X             X             X             X             X             X
Body: Visual inspection for corrosion                                                                        X                           X                           X
Brake pads: Check thickness and brake disc condition (front and rear)                   X             X             X             X             X             X
Brakes: Inspect brake system and shock absorber for leaks and damage, check
                                                                                               X             X             X             X             X             X
thickness of brake pads, brake disc condition and check brake fluid level
Brake fluid: Change fluid (New Beetle only) (Every 2 years regardless of
                                                                                              5, *          5, *          5, *          5, *          5, *          5, *
mileage)
Brake fluid: Change fluid (Touareg, Eos, Passat models, Jetta models, GTI,
Golf, Tiguan, and CC) (Every 3 years regardless of mileage and every 2 years
                                                                                                     6, *          6, *          6, *          6, *          6, *
Convertible roof, CSC roof, and retractable hard top: Check for function and
                                                                                                             X                           X                           X
damage, clean and lubricate seals (if applicable)
Coolant level and frost protection: Check                                                                    X                           X                           X
Convertible roof: Check latch: (if applicable) (Every 2 years regardless of
                                                                                              2, *          2, *          2, *          2, *          2, *          2, *
mileage)
CV joints: Check for leaks and damage                                                                        X                           X                           X
Diesel particulate filter: Only after 120,000 miles: Check ash loading according to
manufacturer work procedure. Replace if necessary. Note: If DPF replacement is
not necessary, perform check every 10,000 miles thereafter until replacement                                                                                         X
becomes necessary. Subsequent DPF replacement interval is a minimum of
120,000 miles, thereafter.(2.0L TDI and 3.0L TDI only)
Door checks and mounting pins: Lubricate                                                                     X                           X                           X
Dust and pollen filter: Replace (if applicable)                                               4, *          4, *          4, *          4, *          4, *          4, *
Engine: Change oil and replace oil filter                                               X      X      X      X      X      X      X      X      X      X      X      X
Engine and engine compartment components: Check (from above) for leaks and
                                                                                                             X                           X                           X
damage
Engine and engine compartment components: Check (from below) for leaks and
                                                                                                             X                           X                           X
damage, check transmission, final drive, and drive shaft boots
Exhaust system: Check for leaks, damage and secure fittings                                                  X                           X                           X
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Fuel filter: Replace (2.0L TDI only)                                                              X           X           X           X            X         X
Fuel filter: Drain water (3.0L TDI only)                                                          X                       X                        X
Fuel filter: Replace (3.0L TDI only)                                                                          X                       X                      X
Haldex Clutch: Change oil (if applicable)                                                                     X                       X                      X
Headlights, daytime running lights, curve lighting, and automatic headlights: Check
                                                                                                              X                       X                      X
adjustment
Interior lighting and glove box lights, cigarette lighter / power outlets, horn, and all
                                                                                                              X                       X                      X
warning lamps: Check
Lighting: Front and rear lights, luggage compartment lighting, turn signals, hazard
warning lights, daytime running lights, curve lighting, and automatic headlights:                             X                       X                      X
Check
Power steering: Check oil level (if applicable)                                                               X                       X                      X
Rear window: Check cleaning nozzle functionality (if applicable)                            X     X    X      X     X     X     X     X     X      X    X    X
Ribbed V-belt: Check condition                                                                                X                       X                      X
Service interval display: Reset (if applicable)                                             X     X    X      X     X     X     X     X     X      X    X    X
Service sticker: Enter the date of the next service on the service sticker and apply to
                                                                                            X     X    X      X     X     X     X     X     X      X    X    X
the driver's side door pillar
Spark plugs: Replace (2.5L and 3.2L only)                                                                     X                       X                     8, *
Spark plugs: Replace (2.0T, 3.6L and 4.2L only)                                                                           X                                 8, *
Sunroof and panoramic sunroof: Check, clean, and lubricate (if applicable)                                    X                       X                      X
Sunroof: Open sunroof and check front water drains and clean if necessary (if
                                                                                                              X                       X                      X
applicable)
Test drive: Check braking, kick-down, steering, electrical, heating and ventilation
                                                                                                              X                       X                      X
systems, air conditioning, and handling
Tie rod ends: Check for excessive play, check boots                                                           X                       X                      X
Timing Belt: Replace (if applicable, except 2.0L TDI)                                                                                                   X
Timing belt: Replace (2.0L TDI only)                                                                                                                         X
Tires: Check tread depth, condition, tire age, wear pattern and pressure of all tires
(including spare)                                                                                 X           X           X           X            X         X
Tires: Rotate front to rear                                                                 X     X    X      X     X     X     X     X     X      X    X    X
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Tire mobility kit: Check and observe expiration date on the tire filler bottle (Every 2
                                                                                                3, *         3, *         3, *          3, *         3, *       3, *
years regardless of mileage)
Tire mobility kit: Replace tire filler bottle (Every 4 years regardless of mileage)                          7, *                       7, *                     7, *
Tire pressure sensors: Replace (Every 6 years regardless of mileage)                                                      10, *                                 10, *
Transmission: Automatic :Change fluid (2.5L Jetta models, NB and NBC, and
                                                                                                                    X                                 X
Golf)
Transmission: DSG (non automatic): Change fluid and filter                                                    X                          X                       X
Underbody sealant: Inspect for damage                                                                         X                          X                       X
Windshield washers, headlight cleaning system, and wiper blades: Check for
                                                                                           X     X     X      X     X      X      X      X     X      X     X    X
damage and function, Check fluid level and add if necessary
* Carefree Maintenance Program - Time dependent items will be included in scheduled maintenance intervals if applicable
* At 5K, 15K, 25K, 35K: AdBlue® Fluid: Check fluid level and add if necessary (3.0L TDI)
1. Every 1 year, regardless of mileage: Perform visual check of airbag system
2. Every 2 years, regardless of mileage: Check latch for convertible roof (if applicable)
3. Every 2 years, regardless of mileage: Check and observe the date on the tire filler bottle in the tire mobility kit (if applicable)
4. Every 2 years: Replace dust and pollen filter (if applicable)(if replacement not completed at scheduled intervals)
5. Every 2 years, regardless of mileage and every 2 years after: Change brake fluid (New Beetle only)
6. Every 3 years, regardless of mileage and every 2 years after: Change brake fluid (Touareg, Eos, Passat Models, Jetta Models, GTI, Golf, Tiguan,
and CC)
7. Every 4 years, regardless of mileage: Replace tire filler bottle in tire mobility set (Observe expiration date)
8. Every 6 years regardless of mileage: Replace spark plugs
9. Every 6 years regardless of mileage: Air filter element and snow filter: replace and clean housing (if applicable)
10. Every 6 years, regardless of mileage: Change tire pressure sensors (if applicable)
11. At 45K, 55K, 65K, 75K, 85K, 95K, 105K, 115K, 125K and every 5K after: AdBlue® Fluid: Check fluid level and add if necessary (3.0L TDI)
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